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                EXHIBIT D
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 9
     Attorneys Appearing in a Limited Capacity for
10   Counter-Defendants Boon Global Limited, F8
     Vietnam Company Limited, California Fitness &
11   Yoga Centers, California Management Group,
     and Randy Dobson
12
                              UNITED STATES DISTRICT COURT
13
                            NORTHERN DISTRICT OF CALIFORNIA
14
     PARKRIDGE LIMITED, a Hong Kong corporation, by
15   Mabel Mak, and MABEL MAK, an individual,
16                               Plaintiffs,
     v.                                             Case No. 16-cv-07387
17
     INDYZEN, INC., a California corporation, and PRAVEEN [PROPOSED] ORDER
18   NARRA KUMAR, an individual,                          GRANTING F8 VIETNAM
                                    Defendants.           COMPANY LIMITED’S MOTION
19                                                        TO DISMISS INDYZEN’S
20   INDYZEN, INC., a California corporation, and PRAVEEN PETITION TO COMPEL
     NARRA KUMAR, an individual,                          ARBITRATION PURSUANT TO
                                    Counter-Plaintiffs,   FRCP 12(b)(2), 12(b)(3), AND
21
     v.                                                   (12)(b)(6)
22
     PARKRIDGE LIMITED, a Hong Kong corporation, BOON    Date:    February __, 2018
23   GLOBAL LIMITED, a Hong Kong corporation, F8         Time:    N/A
     VIETNAM COMPANY LIMITED, a Vietnam company,         Dept.:   N/A
24                                                       Judge:   Hon. Jeffrey S. White
     CALIFORNIA FITNESS & YOGA CENTERS, an entity of
25   unknown form, CALIFORNIA MANAGEMENT GROUP,
     an entity of unknown form, and RANDY DOBSON, an
26   individual,
                                   Counter-Defendants.
27
28
                 Case 4:16-cv-07387-JSW Document 46-4 Filed 01/18/18 Page 3 of 3



                                             [PROPOSED] ORDER
 1

 2          This matter having come before the Court on Counter-Plaintiff Indyzen, Inc.’s (“Indyzen”)

 3   Petition to Compel Arbitration (the “Petition”) as to F8 Vietnam Company Limited (“F8”), due notice

 4   having been given, and the Court being fully advised,
 5          IT IS HEREBY ORDERED:
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            1.        F8’s Motion to Dismiss the Petition is hereby GRANTED. This Court does not have
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     personal jurisdiction and venue over F8 as required by Federal Rules of Civil Procedure 12(b)(2) and
 8
     12(b)(3). Furthermore, to the extent that this Court has jurisdiction, the Petition should also be dismissed
 9

10   pursuant to Federal Rule of Civil Procedure 12(b)(6) for failure to properly state a claim. Indyzen’s

11   claims against F8 fall outside the scope of the arbitration clause agreed to by Indyzen and Parkridge

12   Limited.
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            2.        F8 is dismissed from this matter with prejudice.
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15   Dated: _____________________                                   ______________________________
                                                                    HONORABLE JEFFREY S. WHITE
16                                                                  UNITED STATES DISTRICT JUDGE
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28   [Proposed] Order Granting                        -2-                                     No. 16-cv-07387
     F8’s Mot. to Dismiss
